                  Case 2:09-cr-00422-TLN Document
                              UNITED STATES       84 Filed 06/21/10
                                              DISTRICT     COURT Page 1 of 1
                                EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                        )
         v.                                             )    CR NO: 2:09-CR-422 WBS
                                                        )
Nakesha Sharrieff, et al

                                APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                     : Ad Prosequendum                             9 Ad Testificandum.
Name of Detainee:            Jarmal Duplessis

Detained at (custodian):    Sacramento County Jail (Main)
Detainee is: a.)      : charged in this district by:
                            : Indictment              9 Information              9 Complaint
                            Charging Detainee With:  Conspiracy to Commit Student Loan Fraud (20
                                                     USC 1097(a)) in violation of 18 USC 371
         or     b.)   9 a witness not otherwise available by ordinary process of the Court
Detainee will: a.)    9 return to the custody of detaining facility upon termination of proceedings
       or      b.)    9 be retained in federal custody until final disposition of federal charges, as a sentence is
                        currently being served at the detaining facility
Appearance is necessary forthwith in the Eastern District of California.
                                 Signature: /s/ Jean M. Hobler
                                 Printed Name & Phone No: Jean M. Hobler, 916-554-2700
                                 Attorney of Record for:   United States of America

                                         WRIT OF HABEAS CORPUS
                          : Ad Prosequendum                           9 Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, forthwith, and any further proceedings to
be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
June 18, 2010
Date


Please provide the following, if known:
 AKA(s) (if applicable):                                                                  Male :   Female 9
 Booking or CDC #:                X-4030289/09495138                                      DOB:     03/30/88
 Facility Address:                651 I Street                                            Race:
                                  Sacramento, CA                                          FBI #:
 Facility Phone:                  916.874.6752
 Currently Incarcerated For:      PC 273.5(A) Misdemeanor, Corporal Injury on
                                  Spouse or Cohabitant
                                                RETURN OF SERVICE

Executed on                by
                                                                            (Signature)
                                                                                                       Revised 11/19/97
